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                         UNITED STATES DISTRICT COURT
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                       EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,
12                                          NO. CR. S-05-238 FCD
               Plaintiff,
13
          v.                                MEMORANDUM AND ORDER
14
     DALE C. SCHAFER and MARION
15   P. FRY, aka Mollie P. Fry,
16             Defendants.
17                                ----oo0oo----
18        On July 13, 2007, the court heard oral argument on the
19   parties’ motions in limine.1     At the hearing, the court decided
20   on the record some motions,2 deferred ruling on others, pending
21
          1
               The court also held the trial confirmation hearing;
22   trial of this matter is set to commence August 1, 2007.
23        2
               The court denied as moot defendants’ motion for
     discovery compliance regarding any “informants” used by the
24   government (Docket #129); the court accepted the government’s
     representation that it did not use any informants in the instant
25   investigation; however, the government conceded there are certain
     cooperating witnesses who will testify in this action and as to
26   those witnesses, the government indicated it would disclose
     pertinent information, including cooperation agreements.
27
               The court granted the government’s motions in limine
28   nos. 5, 6 and 7, to exclude any argument regarding jury

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 1   factual proffers by defendants,3 and submitted certain motions.
 2   By this order, the court issues its decision with respect to the
 3   motions taken under submission, including the government’s motion
 4   in limine4 no. 1 (“MIL No. 1"), to exclude any evidence or
 5   argument pertaining to a medical necessity defense, and motion in
 6   limine no. 2 (“MIL No. 2"), to exclude any evidence or argument
 7   pertaining to a defense of erroneous belief that defendants’
 8   conduct was legal, and defendants’ motion in limine in support of
 9   certain jury instructions (hereinafter, “defendants’ MIL to
10   assert defenses”).5   The court also rules herein on the deferred
11
12   nullification, to exclude evidence or argument regarding
     potential punishments and to exclude evidence or argument
     relating to any mental disease or defect of defendant Fry,
13   respectively.
14             The court did not specifically discuss the government’s
     notice of intent to introduce possible evidence under Federal
15   Rule of Evidence 404(b). The admissibility of any such evidence
     will be considered by the court during trial, when, and if, it is
16   sought to be introduced.
17        3
               The court deferred ruling on the government’s motions
     in limine nos. 3 and 4, to exclude evidence regarding defenses of
18   entrapment by estoppel or public authority and to exclude
     evidence regarding the execution of the search warrant,
19   respectively, pending factual proffers on the issues by
     defendants, to be filed with the court, under seal, on or before
20   July 20, 2007. As set forth below, defendants filed a proffer
     only with respect to the government’s motion in limine No. 3;
21   they did not file the proffer under seal.
22        4
               The government filed its motions in a consolidated
     document (Docket #131), to which defendants responded in a
23   consolidated opposition (Docket #136).
24        5
               Defendants styled their motion as a motion in support
     of various proposed jury instructions (Docket #128). However,
25   the court construes the motion, as did the government (Docket
     #137), as a motion in limine in support of the assertion of
26   various defenses to the charged conduct, including defenses of
     compliance with federal or state law, fair notice, mistake of
27   fact, mistake of law, advice of counsel, good faith and/or
     entrapment or reliance on public authority. In some respects,
28   defendants’ motion overlaps with the government’s MIL Nos. 1, 2

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 1   motions (the government’s, “MIL No. 3" and “MIL No. 4").
 2        Government’s MIL No. 1
 3        The court GRANTS the government’s MIL No. 1 to exclude any
 4   argument or evidence pertaining to a defense of medical
 5   necessity.   It is the law of this case that the United States
 6   Supreme Court’s decision in United States v. Oakland Cannabis
 7   Buyers' Cooperative (“OCBC”), 532 U.S. 483 (2001), holding that
 8   medical necessity cannot be a defense to a federal charge of
 9   manufacturing and distributing marijuana in violation of the
10   Controlled Substances Act ("CSA"),6 may be retroactively applied
11   to defendants’ charged conduct here, occurring between 8/1/99 and
12   9/28/01.    The court made this finding on the record at the
13   January 20, 2006 hearing wherein it denied defendants’ motion to
14   dismiss the indictment on the grounds that, at the time in
15   question, state and federal law permitted possession and
16   cultivation of marijuana for medicinal purposes.        With respect to
17   OCBC, the court found that the Supreme Court’s decision was
18   foreseeable in light of a circuit split on the issue and thus,
19   under United States v. Qualls, 172 F.3d 1136 (9th Cir. 1999),
20   OCBC could be retroactively applied to defendants’ alleged
21   conduct.7
22
23
     and 3.
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          6
               The Court based its holding on the premise that there
25   can be no necessity for a substance which has no medical value,
     based on marijuana's Schedule I classification.
26
          7
               As set forth below, Judge Karlton’s decision in
27   “Mushroom Trail” is not to the contrary. There, Judge Karlton
     considered the retroactive application of Gonzales v. Raich, 125
28   S.Ct. 2195 (2005), not OCBC.

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 1        Moreover, even if OCBC could not be applied retroactively,
 2   defendants’ argument regarding the purported legality of their
 3   charged conduct would only apply to the time frame of 7/17/00 to
 4   8/29/00, the time between the OCBC-district court’s modification
 5   of the injunction to include a medical necessity exemption and
 6   the Supreme Court’s stay of the injunction.        Preliminarily, the
 7   court notes that defendants’ argument can be summarily dismissed
 8   as it pertains to their alleged conduct occurring between
 9   5/14/01, the date of the Supreme Court's decision in OCBC and
10   9/28/01, the last date of wrongdoing charged in the indictment;
11   as to that time frame, the law (as described in OCBC) clearly did
12   not support a medical necessity defense.
13        With respect to defendants' alleged conduct occurring
14   between 8/1/99 and 5/14/01, defendants misapply the lower court
15   decisions in OCBC to their conduct.       OCBC was a non-profit
16   cannabis club.    In the district court, the government brought
17   suit, requesting a preliminary injunction to stop the
18   distribution of cannabis in the wake of California's initiative
19   supporting the medical use of marijuana.       The district court
20   issued the injunction on May 13, 1998 (5 F. Supp. 2d 1086 (N.D.
21   Cal. 1999)).     OCBC appealed the district court's order denying
22   its motion to modify the injunction to permit distribution to
23   persons that have a medical necessity.       On September 13, 1999,
24   the Ninth Circuit reversed the order denying the modification and
25   remanded the case to the district court to reconsider whether a
26   medical necessity exemption should be included in the injunction
27   (190 F.3d 1109 (9th Cir. 1999)).       The Ninth Circuit did not
28   vacate the injunction upon remand.      Thus, the original injunction

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 1   remained in effect.      The district court modified the injunction
 2   to include a medical necessity exemption on July 17, 2000 (2000
 3   WL 1517166 (N.D. Cal. 2000)).       That injunction was stayed by the
 4   Supreme Court on August 29, 2000 (530 U.S. 1298 (2000)).            Thus,
 5   the only period in which defendants can argue that federal law
 6   supported a medical necessity defense is from 7/17/00 to 8/29/00.
 7          Nevertheless, this court has determined that OCBC may be
 8   retroactively applied to defendants’ charged conduct, and thus,
 9   defendants cannot assert a medical necessity defense with respect
10   to any time frame relative to the indictment.
11          Government’s MIL No. 2
12          The Court GRANTS the government’s MIL No. 2 to exclude any
13   evidence or argument pertaining to a defense that defendants
14   erroneously believed their alleged conduct was legal.           Defendants
15   are not entitled to present evidence relating to their purported
16   erroneous belief that their alleged conduct was legal under
17   federal law because the charged offenses require a "knowing"
18   scienter, not a "willful" one.       The government is required to
19   show only that defendants knew they were "in fact performing an
20   act," not that they knew the act was "criminalized by statute."
21   See United States v. Lynch, 233 F.3d 1139, 1141 (9th Cir. 2000).
22   The charged offenses here are general intent crimes to which it
23   is not a defense that defendants lacked the intent to violate the
24   law.   See United States v. Fahey, 411 F.2d 1213 (9th Cir. 1969);
25   United States v. Cain, 130 F.3d 381, 384 (9th Cir. 1997)
26   (district court properly gave instruction in possession of
27   cocaine with intent to distribute case that government need not
28   prove the defendant knew his conduct was illegal).

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 1        Specifically as to the Count I conspiracy charge, defendants
 2   argued, in their reply, that the defense is viable, citing a
 3   California appellate court decision, People v. Urziceanu, 132
 4   Cal. App. 4th 747 (2005), which permitted a mistake of law
 5   defense to a conspiracy to sell marijuana charge under state law.
 6   In Urziceanu, the court was interpreting California's conspiracy
 7   statute, Cal. Penal Code § 182.      The court reasoned that such a
 8   charge required the government to prove that the defendant knew
 9   what he was doing violated the law; in other words, the
10   conspiracy charge was a specific intent crime to which mistake of
11   law could be a defense.    Id. at 876.
12        Defendants’ reliance on Urziceanu is unavailing.         The United
13   States Supreme Court has recognized in construing the federal,
14   general conspiracy statute (18 U.S.C. § 371), that a defendant
15   does not need to know his conduct violates federal law to be
16   guilty of a conspiracy.    Section 371 makes it unlawful to
17   "conspire . . . to commit any offense against the United States."
18   The Supreme Court held in United States v. Feola that:
19        A natural reading of these words would be that since
          one can violate a criminal statute simply by engaging
20        in the forbidden conduct, a conspiracy to commit that
          offense is nothing more than an agreement to engage in
21        the prohibited conduct.
22   420 U.S. 671, 687 (1975).     The drug conspiracy statute, 21 U.S.C.
23   § 846, is substantially the same as Section 371, and thus, the
24   court applies Feola here.     United States v. Ansaldi, 372 F.3d
25   118, 128 (2nd Cir. 2004) (upholding district court's refusal to
26   give good faith instruction to § 846 conspiracy charge, stating
27   "knowledge of, or intent to violate the law is simply not an
28   element of this offense").     Section 846 reads: "any person who

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 1   attempts or conspires to commit any offense defined this
 2   subchapter shall be subject to the same penalties . . . ."             See
 3   also United States v. Baker, 63 F.3d 1478, 1493 (9th Cir. 1995)
 4   (recognizing in the context of a conspiracy charge under RICO and
 5   the Contraband Cigarette Trafficking Act that "[e]stablishing a
 6   defendant's guilt of conspiracy to commit a substantive crime
 7   requires proof of mens rea essential for conviction of the
 8   substantive offense itself . . . No greater or different intent
 9   is necessary.")
10        Thus, the government is required only to prove that
11   defendants agreed to commit the acts which make up the objects of
12   the conspiracy, which here, are not specific intent crimes--i.e.,
13   they do not require proof of an intent to violate the law.
14   Defendants' beliefs concerning the legality of the use of
15   “medicinal marijuana” are not a proper defense and evidence of
16   their beliefs, or their reasons for those beliefs, are irrelevant
17   to the charges.   Fed. Rs. Evid. 401, 402.
18        Defendants’ MIL to Assert Defenses
19        The court DENIES defendants’ MIL to assert certain defenses,
20   including defenses of compliance with federal or state law, fair
21   notice, mistake of fact, mistake of law, advice of counsel or
22   good faith.8
23        As to any defense of compliance with federal or state law,
24   the court’s discussion above regarding the government’s MIL No. 1
25   applies with equal force here and serves as a basis to deny
26
          8
27              For the reasons set forth below regarding the
     government’s MIL No. 3, the court also precludes defendants from
28   asserting a defense of entrapment by estoppel or public
     authority.

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 1   defendant’s proffered defense.     The court also finds that
 2   defendants cannot assert a defense based on (1) reliance on Raich
 3   v. Ashcroft, 352 F.3d 1222 (9th Cir. 2003), holding the CSA
 4   unconstitutional as exceeding Congress’ powers under the Commerce
 5   Clause and thus not preemptive of California’s Compassionate Use
 6   Act (“CUA”), or (2) Judge Lawrence Karlton’s decision in United
 7   States v. Real Property Located at 11550 Mushroom Trail, et al.,
 8   Civ. 04-2470 LKK/KJM, Order, filed January 19, 2006 ("Mushroom
 9   Trail"), holding that the Supreme Court's decision in Gonzales v.
10   Raich, 125 S.Ct. 2195 (2005), reversing the Ninth Circuit’s
11   decision, could not be applied retroactively to a civil
12   forfeiture claimant's conduct, occurring between June 2004 and
13   September 2004, and permitting the claimant to argue that his
14   conduct was lawful pursuant to the Ninth Circuit's decision in
15   Raich.9   Both the Ninth Circuit’s decision in Raich and Mushroom
16   Trail are inapplicable to this case, as defendants could not have
17   relied on either decision at time of the charged conduct, which
18   occurred years before these decisions were issued; defendants’
19   charged conduct occurred between 8/1/99 and 9/28/01, but the
20   Ninth Circuit did not issue its decision until 2003 and Mushroom
21   Trail was decided in 2006.
22        As to a fair notice defense, such a defense is premised on
23   the principle that the government may not prosecute a person when
24   that person has been "required at peril of life, liberty or
25
          9
26             Mushroom Trail involved a civil forfeiture action
     involving real property on which the claimant allegedly grew
27   marijuana for “lawful, medicinal purposes.” Judge Karlton
     ultimately denied the government’s motion for summary judgment,
28   finding that triable issues of fact existed as to whether the
     claimant’s conduct fell within the CUA. The case later settled.

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 1   property to speculate as to the meaning of penal statutes."
 2   Lanzetta v. New Jersey, 306 U.S. 451, 453 (1939).         Fair notice is
 3   about statutes, not erroneous or confusing judicial opinions.
 4   United States v. Larm, 824 F.2d 780, 784 (9th cir. 1987).          Here,
 5   21 U.S.C. § 841 meets the fair notice requirement as it
 6   unambiguously publishes what conduct is prohibited and what
 7   minimum sentences apply.    See United States v. Taylor, 693 F.2d
 8   919, 922 (9th Cir. 1982) (the Constitution requires only that the
 9   "wording of the statute is sufficient to give a person of
10   ordinary intelligence fair notice that his or her contemplated
11   conduct is forbidden").    Thus, defendants cannot assert a fair
12   notice defense.
13        As to a mistake of fact defense, defendants’ motion is
14   denied as they have failed to make a proffer as to any factual,
15   as opposed to legal, mistake at issue.
16        As to a mistake of law defense, defendants’ motion is denied
17   for the same reasons the court grants the government’s MIL No. 2.
18        As to an advice of counsel defense, which defendant Schafer
19   seeks to assert based on his communications with an attorney
20   Nicks, defendants’ motion is denied as such a defense is also
21   unavailable for the same reasons the court granted the
22   government’s MIL No. 2.    Advice of counsel is not, strictly
23   speaking, a defense to a criminal charge, but rather, is a
24   circumstance indicating good faith which may be considered by the
25   jury if relevant to negate a specific element of the offense with
26   which a defendant is charged.     See Ratzlaf v. United States, 510
27   U.S. 135, 138-39 (1994) (recognizing that good faith might be
28   relevant in cases where specific intent to violate the law is an

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 1   element of the charged offense).10      Thus, because an advice of
 2   counsel defense serves only to negate specific intent to violate
 3   the law, it would clearly not be a viable defense to the Count II
 4   charge of manufacturing.     Indeed, defendant Schafer concedes this
 5   point in his reply.    As to the Count I conspiracy charge, the
 6   defense is also unavailable, under Feola and Ansaldi, as set
 7   forth above.   See also United States      v. Soares, 998 F.2d 671
 8   (9th Cir. 1993) (affirming the defendant's conviction and finding
 9   no error in the district court's preclusion of an advice of
10   counsel defense since the kickback statute at issue did not
11   require the government to prove the defendant knew he was
12   violating the law).
13        For the same reasons, defendants cannot assert a good faith
14   defense to the charged offenses.
15        Thus, defendants are precluded from asserting any of the
16   above defenses, and as such, they may not introduce evidence or
17   make argument relating to these defenses.        Defendants’ motion
18   (Docket #128), construed as a motion in limine to assert
19   defenses, is DENIED as to the defenses discussed herein.
20        Government’s MIL No. 3
21        The court GRANTS the government’s MIL No. 3 to exclude
22   evidence regarding any defense of entrapment by estoppel or
23
24        10
               As such, advice of counsel defenses arise largely in
25   tax and banking cases where the offenses require proof that a
     defendant violated a known legal duty. See e.g. United States v.
26   Conforte, 624 F.2d 869, 876 (9th Cir. 1980) (recognizing that
     while reliance on counsel is not a complete defense in tax
27   evasion cases, it is a circumstance indicating good faith which
     the trier of fact is allowed to consider on the issue of
28   "willfullness").

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 1   public authority.    The court previously denied on January 20,
 2   2006, defendants' pretrial motion to dismiss the indictment based
 3   on the argument that federal agents lured defendants into
 4   committing federal crimes by telling them they would not be
 5   prosecuted by federal authorities for their federal crimes.             The
 6   government seeks to preclude assertion of any affirmative defense
 7   based on the same argument.     For the same reasons the court
 8   denied defendants' motion to dismiss, it grants the government’s
 9   instant motion in limine.
10        The court may preclude a proposed defense if the evidence
11   described in the offer of proof is insufficient as a matter of
12   law to support the proffered defense.       United States v. Aguilar,
13   883 F.2d 662, 692 (9th Cir. 1989).       In the earlier proceedings on
14   defendants’ motion to dismiss the indictment, defendants could
15   not identify an authorized federal government official who
16   erroneously told them it was permissible to sell marijuana.
17   United States v. Brebner, 951 F.2d 1017, 1024 (9th Cir. 1991) (to
18   assert the instant defense, defendants must proffer facts that an
19   authorized official of the federal government affirmatively told
20   defendants their charged conduct was permissible under federal
21   law and they reasonably relied upon that representation).          At the
22   July 13, 2007 hearing, the court deferred ruling on this motion
23   to permit defendants to make a new offer of proof on this issue.
24   Defendants filed their proffer on July 20, 2007 (Docket #146).
25   However, again, defendants failed to make the requisite showing;
26   defendants’ proffer, if it shows anything at all, simply concerns
27   the underlying investigation, which involved federal and local
28   law enforcement agents; at times, federal agents appear to direct

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 1   certain undercover operations performed by local agents.
 2   Significantly, the proffer does not establish, in any respect,
 3   that federal agents, or any other law enforcement officials, told
 4   defendants their alleged conduct was permissible under federal
 5   law.    Therefore, the court grants the government’s MIL No. 3.
 6          Government’s MIL No. 4
 7          The court GRANTS the government’s MIL No. 4 to exclude any
 8   evidence pertaining to the manner in which the DEA agents
 9   executed the search of defendants' residence, including evidence
10   pertaining to defendants’ son’s civil rights action, pending in
11   this court, arising out of events taking place during the
12   execution of the search warrant.          At the hearing, the court
13   announced its tentative ruling to grant the motion on the ground
14   that any such evidence is irrelevant to the charged conduct of
15   growing and selling marijuana.        Fed. Rs. Evid. 401, 402.       It
16   deferred ruling, however, to permit defendants to make a factual
17   proffer.    Said proffer was to be filed by July 20, 2007.
18   Defendants did not file a proffer.         As such, the court grants the
19   government’s motion for the above reason.
20          IT IS SO ORDERED.
21   DATED: July 24, 2007
22
23
                                     _______________________________________
24                                   FRANK C. DAMRELL, JR.
                                     UNITED STATES DISTRICT JUDGE
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